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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEVADA

 SalesTraq America, LLC, a Nevada                      Case No.: 08-CV-1368
 Limited-liability company,                            Hon. Judge Larry Hicks
                 Plaintiff,
 v.

 Joseph A. Zyskowski, an individual;
 devMarketing, Inc., a Nevada corporation

             Defendants
 _______________________________________/

                       STIPULATION AND ORDER FOR DISMISSAL


        The parties hereby stipulate to the dismissal, with prejudice, of all claims asserted by

 each and against the other, each party to bear its own costs and attorney’s fees, except to the

 extent of the payment by Larry Murphy and SalesTraq America, LLC provided for under the

 Settlement Agreement entered into by the parties.

 /s/ John R. Benefiel                                  /s/ Larry Murphy
 John R. Benefiel                                      SalesTraq America, LLC
 Attorney for Counter Plaintiff/Defendants             Larry Murphy
 525 Lewis Street                                      Plaintiff Counter/Defendants
 Birmingham, MI 48009                                  7332 Quail Heights Avenue
 P: (248) 644-1455                                     Las Vegas, Nevada 89131
 F: (248) 644-6530


                                       IT IS SO ORDERED.

DATED this 20th day of June, 2011.
                                                       ___________________________
                                                       Larry Hicks
                                                       United States District Judge
                                                       ________________________________
                                                       LARRY R. HICKS
                                                       UNITED STATES DISTRICT JUDGE




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